Case 23-03150 Document 22 Filed in TXSB on 02/09/24 Page 1 of 23

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
United
In re: ) Southern Distes Courts
) Chapter 11 Fite Db Texas
SURGALIGN HOLDINGS, INC., et al. ) FE
B09 290
) Nathan Ochsn
er Clerk Of Cour
RYAN MESSNER, )
) Case No. 23-9073 1
Plaintiff(s), )
y Adversary Proceeding
Vv. ) Case No. 23-03150
)
SURGALIGN HOLDINGS, INC., )
)
Defendant(s). )

PLAINTIFF RESPONSE TO DEFENDANT’S MOTION TO DISMISS

Pursuant to the SCHEDULING CONFERENCE held on January 10, 2024, Plaintiff{s), RYAN
MESSNER responds to the Defendant’s Motion to Dismiss, and to the extent required and/or
permitted by this Court hereby moves to amend his original complaint, and provide further
clarification regarding the reference of 15 U.S.C. § 78ff in said complaint. Plaintiff also draws
contrasts between this action and Kelly v. JPMorgan Chase Bank, N.A., Civil Action No. 3:12-
CV-3374-N-BK, which was referenced in the SCHEDULING CONFERENCE for consideration,

Plaintiff is aware that 15 U.S.C. § 78ff prohibits Plaintiff to pursue any federal criminal action,
since the prosecution of federal criminal offenses falls within the exclusive jurisdiction of the
executive branch of the federal government, Plaintiff referenced this statute due to observation
based on personal experience!, and did not mean to insinuate that this court should be conducting

1 United States of America v. Douglas T. Hawkins, United States District Court Eastern District of Kentucky,
Case 5:21-cr-00110-KKC-MAS. Mr. Hawkins, an attorney licensed in Kentucky, was an employee of the
Law Offices of Walter C. Cox, Jr., Lexington, Kentucky, from 2017-2022 and Plaintiff was also employed by
Mr. Cox’s law firm, from 2009-2022. Prior to his joining Mr. Cox’s law firm in 2017, Mr. Hawkins was also
licensed as a financial planner and was involved in a lengthy history of constantly changing entities, very
similar to Surgalign’s history. After the Kentucky State Department of Financial Institutions conducted
audits of Mr. Hawkins’ entities in 2015 and 2017, it made findings that cited civil fraud statutes.
Case 23-03150 Document 22 Filed in TXSB on 02/09/24 Page 2 of 23

a federal criminal fraud prosecution as referenced in Kelly v, JPMorgan Chase Bank, N.A., Civil
Action No. 3:12-CV-3374-N-BK.

The Plaintiff's in Kelly v. JPMorgan Chase Bank, N.A., Civil Action No. 3 112-CV-3374-N-BK
relied on three faulty legal theories in support of their claims, whereas the Plaintiff in this action
has included factual support, including but not limited to the fact that a determination had
already been made that civil fraud existed, as included in the UNILATERAL RULE 26(f)
REPORT SUBMITTED BY DEFENDANT, subsection NATURE AND BASIS OF CLAIMS,
wherein The SEC investigated Surgalign between 2015-2019 and reached a settlement resulting
in a $2,000,000 civil fine for fraud in 2022, and Plaintiff alleges this pre-existing fraud to be a
continuum demonstrated by current management, albeit through their intentional selective
disclosure of material facts, with absolutely no change in behavior.

Plaintiff has previously documented, and will expand upon herein, the intentional selective
disclosure, false and misleading statements, along with current management’s knowledge and
non-disclosure of previous fraud, all of which the Plaintiff detrimentally relied upon to make
investment decisions.

Plaintiff asks the Court to deny the discharge in bankruptcy of any debtor who has committed
any acts of fraud, misrepresentation, deceit, or false pretenses under §523(a)(2).

Comes now RYAN MESSNER, and respectfully opposes the Defendant’s Motion to Dismiss. In
support of the opposition of said Motion, RYAN MESSNER represents the following:

I, INTRODUCTION

According to Defendant’s Counsel, the Plaintiff fails to state a claim upon which relief can be
granted, based on the three reasons cited below:

First, section 523 dischargeability actions do not apply to corporate debtors.

Eventually, the United States Postal Service Mail Fraud division was brought into the investigation, and
the United States subsequently filed criminal charges against Mr. Hawkins. After a jury trial, Mr. Hawkins
was found guilty of fraud, involving approximately $2,000,000, as set forth in the Sentencing
Memorandum, attached herein as EXHIBIT G. Mr. Hawkins is currently incarcerated in Ashland,
Kentucky, serving ten years. Plaintiff does understand that it is the US Attorney who presecutes criminal
violations of Federal statutes. However, when Plaintiff compares the magnitude of the fraud of Surgalign
with that of Mr. Hawkins, Plaintiff fails to understand why every single officer and member of
management involved in the years of fraud and misrepresentation by Surgalign is not currently
incarcerated. To that end, Plaintiff may redirect his concerns about criminal prosecution of Surgalign and
its officers and management to the appropriate branches of the Federal government responsible for
such prosecution.
Case 23-03150 Document 22 Filed in TXSB on 02/09/24 Page 3 of 23

Second, the Plaintiff's securities fraud claim requires dismissal because it fails to plead
with particularity.

Third, the alleged claims are section 510(b) claims which were cancelled, released, and
extinguished under the confirmed Plan.

The validity of each of the aforementioned reasons will be disputed herein, in addition to the
following considerations:

4
Counsel's misrepresentation of the Defendant, namely Veronica Polnick of Jackson
Walker LLP.

Counsel's failure to comply with service regulations based on the Plaintiff's Pro Se status,
namely Veronica Polnick of Jackson Walker LLP.

Intentional Selective Disclosure exemplified by the Defendant, as defined under
Regulation FD.

The doctrine of stare decisis.

II. SECTION 523 DISCHARGEABILITY ACTIONS

Defendant's Claim: Section 523 dischargeability actions do not apply to corporate debtors.

Plaintiff's Position: Section 523 dischargeability actions APPLY to corporate debtors, based
on Cantwell-Cleary Co., Inc., v. Cleary Packaging, LLC, as defined below:

As the Court is aware, Section 523(a)(2)(A) of the Bankruptey Code provides an exception from
the discharge of any debt for money, property or services, to the extent such debt was obtained
by false pretenses, a false representation, or actual fraud. 11 U.S.C. § 523(a)(2)(A).

The following is cited verbatim from “Are Subchapter V Corporate Debtors Subject to the
§523(a) Exceptions to Discharge?” (thompsoncoburn.com)

Background

“Congress passed The Small Business Reorganization Act of 2019 (the “SBRA”) for small
businesses, currently defined as debtors with less than $7.5 million in debt. SBRA created a new
Subchapter V, which can be used by both individual debtors or business entities, such as
corporations, limited liability companies or partnerships (hereinafter “Business Entities”). While
Congress intended to streamline and facilitate small business reorganizations, two recent cases
discuss a little-noticed provision of Subchapter V that limits the ability of Business Entities to
discharge certain kinds of debts in a Subchapter V plan.
Case 23-03150 Document 22 Filed in TXSB on 02/09/24 Page 4 of 23

SBRA added section 1192 of the Bankruptcy Code, which discusses a Subchapter V debtor’s
rights to discharge debts in a Subchapter V plan. This section says that a debtor may discharge
debts that arose before confirmation of the plan except debts “of the kind specified in section
523(a) of [the Bankruptcy Code].” Section 523(a), of course, contains nineteen separate
subsections describing debts that cannot normally be discharged ranging from debts arising out
of domestic support obligations to debts incurred by violating federal election laws. While the
majority of the debts described in Section 523(a) are unlikely to arise in a small business case,
some of the other kinds of debts described in Section 523(a) occasionally do arise in small
business cases: such as the debts obtained by fraud or a material misstatement in a financial
statement.

Section 1192’s discharge language differs from language in Section 1141(d), which governs
discharges in regular Chapter 11-cases (i.e. Chapter 11 cases not filed under Subchapter V).
Section 1142(d)(2) says individual debtors cannot receive a discharge of debts described in
Section 523(a), but is silent on whether Business Entities can receive a discharge of the debts
described in Section 523(a), leading the courts to conclude that a Business Entity may

discharge otherwise non-dischargeable debts in its Chapter 11 plan. But Section 1192’s language
excepts debts of the kind specified in Section 523(a) from discharge without regard to whether
the Subchapter V debtor is an individual or a Business Entity.

Recent cases have grappled with this apparent disconnect between Subchapter V’s enhanced
reorganization policy and Section 1192’s discharge language, which is more restrictive than
outside of Subchapter V. A detailed discussion of two such cases follows:

Fourth Circuit

In the case of Cantwell-Cleary Co., Inc., v. Cleary Packaging, LLC, after Cantwell-Cleary
obtained a judgment against Cleary Packaging, Cleary Packaging filed a Subchapter V
bankruptcy case seeking to discharge the judgment. However, Cantwell-Cleary filed a complaint
against Cleary Packaging seeking a declaratory judgment and arguing that Cleary Packaging
cannot discharge the judgment as it fell within one of the exceptions of debts that cannot be
discharged under §523(a). In turn, Cleary Packaging argued that as a corporate debtor, the
§523(a) exceptions to discharge do not apply to it. While the bankruptcy court agreed with
Cleary Packaging and dismissed the action finding that the exceptions do not apply to corporate
debtors because of the limiting language in §523(a), the Fourth Circuit reversed and held that the
§523(a) exceptions to discharge apply to corporate debtors in Subchapter V cases.

The Fourth Circuit relied on many arguments in reaching its conclusion. The court reviewed the
statutory language and the interplay between §523(a) and §1192 and stated that while §1192
provides for the discharge of debts for both individual and corporate debtors, the question
remains as to whether the introductory language in §523(a) limits the exceptions to discharge to
individual debtors. The court focused on the language of the statutes and noted that §1192(2)
excepts from discharge any debt of the kind specified in §523(a), but does not specifically
reference the kinds of debtors, as §523(a) explicitly does. Therefore, the court found that “the
debtors” covered by the language of §1192(2), which includes both individual and corporate
debtors, are not exempt from the “kinds of debt” listed in §523(a).
Case 23-03150 Document 22 Filed in TXSB on 02/09/24 Page 5 of 23

Additionally, the court referenced that the language in Chapter 12 is virtually identical to the
language included in §1192(2) and that courts, in interpreting that language, have concluded that
the discharge exceptions apply to both individual debtors and corporate debtors. To interpret the
same language elsewhere in the Bankruptcy Code in a different manner would lead to an
inconsistent result.

Lastly, the Fourth Circuit believed that allowing the discharge exceptions to apply to both
individual and corporate debtors in Subchapter V would comport with the purpose behind
Congress’ creation of Subchapter V, Congress aimed to simplify Chapter 11 reorganizations for
small business and reduce administrative costs for those businesses. In doing so, the purpose was
to provide similar benefits to individuals and also to corporations. Thus, adopting Cleary
Packaging’s interpretation of the issue and treating the two types of debtors differently would
frustrate that purpose.

Western District of Texas Bankruptcy Court

Several months later, a bankruptcy court for the Western District of Texas, disagreed with the
Fourth Circuit’s reasoning. In Avion Funding, LLC v. GFS Industries, LLC, Avion Funding
initiated an adversary proceeding against GFS Industries, which was in bankruptcy, stating that
GES Industries failed to disclose to Avion Funding’s affiliate that a bankruptcy filing was
imminent when it was seeking funding from such affiliate and thus the debt GFS Industries owes
to Avion should be deemed non-dischargeable.

The court sided with the debtor GFS, and held that Avion’s claims under §523(a) must be
dismissed because §523(a) only applies to individual debtors, not corporate debtors. Unlike the
Fourth Circuit, this bankruptcy court interpreted the introductory preamble to §523{a) in a way
that limits the applicability of the exceptions solely to individual debtors. It stated that although
on its face §1192(2) seeks to incorporate the list of debts that are deemed non-dischargeable
without regard to the type of debtor, the preamble to §523(a) is critical to the analysis as it
contains language limiting discharge to only individual debtors. Further, by amending §523(a)
and adding reference to §1192 into the preamble, the intent was to treat discharges pursuant to
§1192 similar to all other discharges under Chapter 11. The court found that §1192(2)’s
reference to §523(a) only incorporates the list of non-dischargeable debts without expanding it,
and as such §1192(2) is not intended to except from discharge any debts that §523(a) does not
already except and does not empower §523(a) to cast a wider net than the text permits.

In addition, the court noted that if Congress intended to exempt corporate debtors from discharge
of the debts listed in §523(a), it could have done so similarly to the express exemption in
§1141(d)(6) to corporate debtors. The court stated that when Congress drafted §1192(2), it knew
how to distinguish dischargeability based on the type of debtor and did not make such distinction
in §1192(2). Thus, courts must look to the language of §523(a) which applies solely to individual
debtors.

Further, the bankruptcy court reiterated that in creating Subchapter V, Congress intended to
expand, not discontinue, the principles of Chapter 11 and since Subchapter V is a subsect of
Chapter 11, courts should not depart from the well-established principle that corporate debtors
Case 23-03150 Document 22 Filed in TXSB on 02/09/24 Page 6 of 23

are not subject to the §523(a) exceptions to discharge. The fact that the language of §1192 is
similar to that of language in Chapter 12 does not provide reason to treat Chapter 11 cases as if
they are Chapter 12 proceedings. Chapter 12 provides broad language because that is consistent
with Congress’ intent to provide special treatment for certain kinds of debtors. Chapter 12 cases
have unique considerations not present in Chapter 11 cases and thus courts are not mandated to
extend Chapter 12 interpretation to Chapter 11] cases, despite similar language.

On February 3, 2023 the bankruptcy court granted Avion Funding’s motion to certify its order
for direct appeal to the Fifth Circuit. The question that will be presented on appeal will be
whether corporate debtors proceeding under Subchapter V of Chapter 11] may be held liable for
claims under 11 U.S.C. § 523(a). If the Fifth Circuit affirms the bankruptcy court it will create a
circuit split between the Fourth and Fifth Circuits which are the only two Circuit Courts to
consider this issue. Several recent bankruptcy court decisions have reached the same conclusion
as the bankruptcy court In Avion Funding. See Jennings v. Lapeer Aviation, Inc. (In re LaPeer
Aviation, Ine.), Adv. No. 22-03002, 2022 Bankr, LEXIS 1032, 2022 WL 1110072 (Bankr. E.D.
Mich. Apr. 13, 2022); Catt v. Rtech Fabrications, LLC (In re Rtech Fabrications, LLC), 635
B.R. 559 (Bankr. D, Idaho 2021); Gaske v. Satellite Rests. Inc. (In re Satellite Rests. Inc.), 626
B.R. 871 (Bankr. D. Md, 2021).”

End of citation from “Are Subchapter V Corporate Debtors Subject to the §523(a) Exceptions to
Discharge?” (thompsoncoburn.com)

Thompson Coburn’s Financial Restructuring group is well versed in all of the nuances and
developing caselaw surrounding the SBRA. Katharine Clark currently serves as a panel
Subchapter V Trustee for the Bankruptcy Court for the Northern District of Texas. Joseph
Orbach has served as counsel to Debtors and Creditors in Subchapter V cases.

Summary

The interpretation of discharge language, in conjunction with the “silence” on whether Business
Entities can receive a discharge of the debts, has provided a “split” in recent Court decisions, as
outlined below:

Cantwell-Cleary Co., Inc., v. Cleary Packaging, LLC,

“While the bankruptcy court agreed with Cleary Packaging and dismissed the action
finding that the exceptions do not apply to corporate debtors because of the limiting
language in §523(a), the Fourth Circuit reversed and held that the §523(a) exceptions to

discharge apply to corporate debtors in Subchapter V cases.”

Ayion Funding, LLC v. GFS Industries, LLC

“The court sided with the debtor GFS, and held that Avion’s claims under §523(a) must
be dismissed because §523(a) only applies to individual debtors, net corporate debtors.”
Case 23-03150 Document 22 Filed in TXSB on 02/09/24 Page 7 of 23

“On February 3, 2023 the bankruptcy court granted Avion Funding’s motion to certify its
order for direct appeal to the Fifth Circuit. The question that will be presented on appeal
will be whether corporate debtors proceeding under Subchapter V of Chapter 11 may be
held liable for claims under 11 U.S.C. § 523(a). If the Fifth Circuit affirms the
bankruptcy court it will create a circuit split between the Fourth and F ifth Circuits which
are the only two Circuit Courts to consider this issue.”

Plaintiff believes that the “silence” on whether Business Entities can receive a discharge of the
debts, combined with the granted motion for direct appeal, speaks volumes, and Plaintiff
therefore moves the Court to deny the discharge in bankruptcy of any debtor who has committed
any acts of fraud, misrepresentation, deceit, or false pretenses under §523(a)(2).

Ill. PLEADING WITH PARTICULARITY

Defendant's Claim: The Plaintiff's securities fraud claim requires dismissal because it fails to
plead with particularity.

Plaintiff's Position: The Plaintiff's securities fraud claim proves malice, intent, and previous
knowledge by current management and does not qualify for the Defendant's request of dismissal
due to failing to plead with particularity.

Plaintiff agrees with Defendant’s Counsel that pleading with particularity means to include
specifics and details, not just general statements, all of which have been previously provided by
the Plaintiff, and will be elaborated upon herein.

Attention has been deflected away from the fact that current management’s previous knowledge
of, direct involvement with, and intentional omission ofa “material” press release, namely the
SEC accounting fraud investigation commencement in March 2020, misrepresented and omitted
critical information that investors use to make decisions. An omitted piece of information is
considered “material” if knowing the information would have caused the Plaintiff to reconsider
the decision to make the investment. The Defendant’s misrepresentation and omission
proximately caused the Plaintiff's financial loss.

Cornell Law School defines Securities Fraud simply as the misrepresentation or omission of
information to induce investors into trading securities, expanded upon at
Attps://www.law.cornell.edu/wex/securities_fraud, thus the basis for the Plaintiff's complaint.

Pursuant to the Private Securities Litigation Reform Act (“PSLRA”), and expanded upon in
PUBLIC LAW 104-67—DEC. 22, 1995 109 STAT. 737, a Plaintiff instituting a securities fraud
action under the Securities Exchange Act must "specify each statement alleged to have been
misleading; the reason or reasons why the statement is misleading; and if an allegation regarding
the statement or omission is made on information and belief, the complaint shall state with
particularity all facts on which that belief is formed.” Misleading statements, and the reasoning
for each, will also be elaborated upon herein.
Case 23-03150 Document 22 Filed in TXSB on 02/09/24 Page 8 of 23

The hyperbolic statements, lack of communication, misrepresentations, and omissions
constituting fraud by the Defendant are detailed herein, described with particularity, and
substantiated inter alia with company press releases. The Defendant should not be excused for
the breach of fiduciary duty, unjust enrichment, and waste of corporate assets demonstrated,
including, but not limited to the following:

Multiple LLC’s:

Multiple shell companies and LLC’s, some of which were domestic and some foreign,
intentionally obfuscated the corporate structures in order to create confusion for investors, not
allowing them to keep track of who owned what assets, and when, and what individuals were
involved with which companies.

Hardware Sale:

Total revenue for the three months ended March 31, 2023 was $16.7 million, or $66.8 million
estimated over the next 12 months. During the final earnings call, CFO David Lyle revised the
next 12 months estimate to be approximately $50 million per year, which took into account the
recent $17 million sale of Coflex and Cofix hardware to Xtant Medical Holdings.

Xtant Medical Holdings was the only bidder (stalking horse) at auction and paid $5 million total,
plus “assumed liabilities,” in an all-cash transaction. The amount and scope of “assumed
liabilities” was never disclosed by the Defendant, and therefore cannot be included in the
following regarding the questionable sale of the remaining hardware inventory.

According to MedPac in its June 2017 Report to the Congress: Medicare and the Health Care
Delivery System report, “large medical device companies are consistently profitable and
typically have profit margins of 20 percent to 30 percent.” Assuming a conservative 20%
margin on the reduced $50 million per year in hardware sales aforementioned, the Defendant’s
hardware portion of the business would have generated approximately $10 million in profit,
with approximately $40 million in cost.

Based on the documented $17 million sale of Coflex and Cofix which was immediately removed
from the 12-month top line sales estimate of $66.8 million, reduced down to $50 million, almost
on a dollar-for-dollar basis, Plaintiff questions the stalking horse agreement with Xtant Medical
Holdings, and whether it was completed in good faith, with all parties best interests being taken
into consideration. The Defendant sold Coflex and Cofix for $17 million to Xtant Medical
Holdings, while they received a TOTAL of $5 million from Xtant Medical Holdings for the
remaining hardware inventory, worth upwards of $50 million in 12-month estimated top line
sales, as disclosed by CFO David Lyle.

Digital Asset Sale and Hiring of HOLO SA Defendants:

On September 29, 2020, the Individual Defendants in the previously disclosed Fizan v. Surgalign
Holdings, Inc. case, through Roboticine, sold all of Roboticine's interest in Holo Inc. to
Surgalign Holdings for $125 million (the "Stock Purchase Agreement"). The itemized purchase
price consisted of: (1) a cash payment of $30 million; (2) 6,250,000 shares of Surgalign's stock
Case 23-03150 Document 22 Filed in TXSB on 02/09/24 Page 9 of 23

with a total value of approximately $12 million; and (3) potential earn-out payments totaling $83
million. The transaction closed on October 23, 2020. After closing of the transaction, Surgalign
Holdings hired and appointed Defendant Dr. Kris Siemionow as Chief Medical Officer,
Defendant Mr. Paul Lewicki as a non-executive director, and Defendant Mr. Christian Luciano as
Vice President of Research and Development and Digital Surgery. The Plaintiffs in the Fizan v.
Surgalign Holdings, Inc. case believed Surgalign Holdings colluded with the other Defendants to
keep Plaintiffs “in the dark” with respect to the transaction, while enticing investors to invest
large sums of money 8 years prior.

A non-executive director and Defendant in the Fizan v. Surgalign Holdings, Inc. case, namely
Paul Lewicki, had disagreements with current management on the future vision for the company
and the HOLO implementation, and was promptly released from the Company and Board of
Directors, against his wishes. Comparable to the The Fizan v. Surgalign Holdings, Inc. case,
CURRENT management left investors of the company “in the dark” in regards to what
disagreements Mr, Paul Lewicki had with them, similar to the alleged misleading actions of the
other Defendants in the Fizan v. Surgalign Holdings, Inc. case, namely Defendant Dr. Kris
Sjemionow and Mr. Christian Luciano, who remained employed with the company after the
release of Mr. Paul Lewicki from the Board of Directors.

The fact that investors were left totally “in the dark” regarding the reasoning for the release of
Mr. Paul Lewicki, combined with the fact that the alleged misleading actions of the Defendants
were never publicly disclosed upon their hiring, initiated a series of trust issues between the
Defendant and the investment community, thus affecting the Defendant’s ability to secure
funding moving forward. Relationships matter, and when trust is broken, relationships are
broken.

The lack of ability to obtain necessary funding, as a direct result of being untrustworthy and
dishonest, caused the Defendant to liquidate its hardware inventory at a loss to remain solvent.

HOLO was originally acquired for $125 million, only to be sold to Augmedics for $900,000.

Inducement Grants, Unjust Enrichment, and Waste of Corporate Assets:

The Defendant utilized Inducement Grants to attract new employees under Nasdaq Listing Rule
§635(c)(4), at least 6 (six) times, as disclosed in press releases. The company was not able to
provide tangible benefits to new lower-level employees, and knew that these Inducement Grants
would be worthless in a matter of time due to unpublicized legal matters forthcoming. Yet, they
attempted to attract new employees in this manner, instead of taking advantage of the Federal
PPP program (during COVID-19), like 179 other public companies did during that timeframe.
The Federal PPP program would have protected their employees, and in turn, long term
shareholders, by not having to dilute the value of our shares to cover salaries and other expenses.
The company would have qualified for the PPP program since they were under the 500-
employee threshold, unless they did not qualify due to the open SEC investigations and other
pending legal issues.
Case 23-03150 Document 22 Filed in TXSB on 02/09/24 Page 10 of 23

Meanwhile, unjust enrichment was granted to upper management. The company guaranteed
CFO David Lyle a 12-month salary upon hiring him, even if another transaction would affect his
employment with the company, as noted in the terms of his hiring below:

“In connection with his appointment, the Company entered into an Employment
Agreement with Mr. Lyle (the “Employment Agreement”), effective March 1, 2022.
Pursuant to the terms of the Employment Agreement, Mr. Lyle shall receive an annual
salary of $425,000 and shall be eligible to participate in an annual discretionary bonus
program pursuant to the Company’s annual bonus plan (the “Bonus Plan”). Under the
Bonus Plan, Mr. Lyle shall be eligible to receive a short-term incentive bonus of up to
65% of his salary. The exact amount of the bonus payable under the Bonus Plan shall be
determined based on the achievement of applicable performance metrics. In addition,
beginning with the 2022 plan year, Mr. Lyle will be eligible to participate in the
Surgalign Holdings, Inc. Long-Term Incentive Plan (the “LTIP”), under which Mr. Lyle
will be eligible to receive an equity award valued at no less than 50% of Mr. Lyle’s
annual salary. The payment and performance metrics under the Bonus Plan and the LTIP
are subject to review by the Board on a periodic basis. Mr. Lyle will also be entitled to

a sign-on equity award in March 2022 of 1,200,000 restricted stock units on the date that
he becomes Principal Financial Officer (the “Sign-On RSUs”). Such award will be
detailed in a separate award agreement that Mr. Lyle will receive after the award is
made. The Sign-On RSUs will vest as follows: One third will vest on the first anniversary
of the grant date and one eighth of the remaining Sign-On RSUs will vest quarterly
beginning on the fifteenth month following the grant date, provided Mr. Lyle is still an
employee of the Company on such vesting dates. Mr. Lyle shall be entitled to participate
in all benefit programs that the Company establishes and makes available to its
management employees.”

“Pursuant to the terms of the Employment Agreement, Mr. Lyle is entitled to receive an
amount equal to his annual base salary, and to the extent applicable, a COBRA
reimbursement amount, if his employment is terminated in connection with a change in
control, or if he is terminated without cause or with good reason, as such terms are
defined in the Employment Agreement.”

Management Website Biographies:

The website biographies overly emphasized the following points to mislead the Plaintiff, among
other investors, into believing that the management team was fully competent, highly
experienced, and understocd digital surgery and the future of AI/AR.

Exaggerated experience to promote competency in the spine industry, including but not
limited to strong surgeon relationships, peer-reviewed publications, U.S. patents, and
merger & acquisitions, specifically for small to medium-sized public companies
Case 23-03150 Document 22 Filed in TXSB on 02/09/24 Page 11 of 23

Overly-emphasized and embellished “mergers & acquisitions” to entice potential
investors, including the Plaintiff, into believing a future merger or acquisition was on the
horizon, and that the “correct” management team was in place to guide them through
such a transaction with their alleged past experience

Utilized technology buzzwords, large corporation names, and prestigious University
names to increase public perception and confidence in management

The over-emphasis on these alleged past successes and achievements of management (underlined
for clarity below), ironically mirrors their TOTAL failures while at Surgalign. The ENTIRE
management team EITHER totally failed in execution, OR these alleged past successes and
achievements were embellished to entice and intentionally mislead potential investors when
doing their due diligence on the company.

Terry Rich Biography, obtained from Surgalign.com, and attached herein as part of
EXHIBIT A, pages 1-2

“Terry Rich is President and Chief Executive Officer for the Company. Terry has a
proven track record of leading global businesses, driving sales execution and building
commercial organizations to drive growth. Prior to joining the Company, he led the
turnaround of Alphatec Spine from December 2016 through December 2018. As a
director and CEO, he strengthened the organization’s competencies, redirected the
portfolio with 12 new products and laid the foundation for focused innovation and
growth, Prior to Alphatec Spine, Terry was President of Upper Extremities at Wright
Medical Group, NV. Terry has held sales leadership positions at Tornier, NuVasive and
DePuy Spine earlier in his career.”

David Lyle Biography, obtained from Surgalign.com, and attached herein as part of
EXHIBIT A, pages 3-4

“David Lyle joined the company in March 2022 as Chief Financial officer with fourteen
years of public company CFO experience and more than 25 years of experience in
technology markets. David has an established track record in successfully scaling high
growth technology companies, having served in leadership roles in both public and
private organizations. Prior to joining Surgalign, he was the CFO of Airgain, a publicly
traded wireless communications systems company. Prior to joining Airgain, David was
the CFO of Sunniva, Inc., and before Sunniva, he was CFO at Maxwell Technologies,
Inc. for four years, which was acquired by Tesla in 2019. He also served as the CFO of
Entropic Communications, Inc., which was acquired in 2015 by MaxLinear. Prior to
Entropic, David served as the CFO of RF Magic, acquired by Entropic in 2007, Zyray
Wireless, acquired by Broadcom in 2004, and Mobilian, acquired by Intel in 2003. He
also has prior work experience in the commercial banking industry.

David holds a Bachelor of Science in Business Administration from University of
Southern California, a Master of International Management from the Thunderbird
Case 23-03150 Document 22 Filed in TXSB on 02/09/24 Page 12 of 23

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School of Global Management, and a Master of Business Administration from Arizona
State University.”

Marc Mackey Biography, obtained from Surgalign.com, and attached herein as part of
EXHIBIT A, pages 5-6

"Mare Mackey is Executive Vice President of Digital Surgery for the Company. He leads
the company’ efforts to deliver on the promise of digital surgery. Mare has more than 25
years of orthopedic and surgical-enabling technology experience across the spectrum of
business functions, including product development and strategic marketing, business
development, corporate strategy, technology innovation, and post-acquisition portfolio
integration. He spent more than 20 years at Brainlab, leading the orthopedic division
prior to its acquisition by SmithtNephew in 2019. When that acquisition closed, Marc
led the integration and assumed leadership of the digital surgery and robotics division.
He began his career as a life sciences research engineer in the space shuttle program and
started his medical device career in sales of neurosurgical robotics. Mare holds a
Bachelor's degree in Aeronautical and Astronautical Engineering from Purdue University
and a Master's in Bioengineering from the University of California, San Diego.”

Suzanne Zoumaras Biography, obtained from Surgalign.com, and attached herein as part
of EXHIBIT A, pages 7-8

“Suzanne Zoumaras is Chief People Officer for the Company. She has more than 20
years of experience leading people and driving organizational value by aligning business
strategy, culture, and people practices. Most recently, Suzanne served as Principal and
Co-founder of Human Capital Resource Partners, providing deep domain and
management expertise to companies experiencing high growth or significant change.
Prior to that, she was Executive Vice President & Chief People and Places Officer for
Arena Pharmaceuticals. Previously, she held executive leadership roles with nuiltiple
public and private companies, including Teradata, Atmel, Entropic Communications, and
Biosite (now part of Abbvie). Suzanne began her career working for a private investment
banking/venture capital firm. She received her Bachelor of Science in Business
Administration (emphasis Finance) from San Diego State University and her Certificate
in Human Resources Management from the University of California, San Diego.”

Bryan Cornwall Biography, obtained from Surgalign.com, and attached herein as part of
EXHIBIT A, pages 9-10

“G. Bryan Cornwall, PhD, MBA, PEng joined the Company in June 2020 as Executive
Vice President, Research and Clinical Affairs. Bryan brings his 25 years of clinical
operations and research experience in the medical device industry from the University of
San Diego's Shiley-Marcos School of Engineering, where he was an Associate Professor
of Mechanical Engineering. His experience driving innovation through scientific
Case 23-03150 Document 22 Filed in TXSB on 02/09/24 Page 13 of 23

competence within the spine industry, combined with his strong surgeon relationships,
will aid the continued development of Surgalign’s global spine portfolio with a focus on
clinical differentiation. He is well-published with more than 24 peer-reviewed
publications, 24 U.S. patents and eight book chapters. Bryan previously held leadership
roles in his 12-plus-year tenure at NuVasive, including President SOLAS & NSF, Senior
Vice President of Clinical Operations & Research, Senior Vice President of Research &
Clinical Resources, and Vice President of R&D, as well as leadership roles at MacroPore
Biosurgery and DePuy-ACE. ”

Paolo Amoruso Biography, obtained from Surgalign.com, and attached herein as part of
EXHIBIT A, pages 11-12

“Paolo Amoruso is Chief Legal Officer and Corporate Secretary for the Company. He
has 25 years of experience serving public companies in various legal, financial, and
executive roles. Paolo began his career with Shell Oil Company as a Tax Attorney,
served as Assistant General Counsel to the International Division of Devon Energy
Corporation, and as Vice President of Legal and Commercial Affairs and Corporate
Secretary of Hyperdynamics Corporation. In2016, he joined McGowen & Fowler PLLC,
a boutique energy law firm specializing in corporate transactional matters, litigation and
mergers and acquisitions for small- to medium-sized public companies. While with
McGowen & Fowler, he was brought in by the Board of Attis Oil and Gas (a UK-AIM
listed company) to serve as General Counsel and Executive Chairman of the Board,
where he led the restructuring and the subsequent reverse merger with HeliumOne
Global Ltd.

Paolo holds a Juris Doctorate, Master of Business Administration, and Bachelor of
Science in Economics fram the University of Houston and a Master in Tax Law from the
NYU School of Law”

Enrico Sangiorgio Biography, obtained from Surgalign.com, and attached herein as part of
EXHIBIT A, pages 13-14

“Enrico Sangiorgio was named Vice President and General Manager, International in
June 2017, Enrico brings 20-plus years of diverse commercial and leadership experience
building effective teams and driving international expansion, His expertise includes
experience in sales, marketing, business development, general management, and mergers
and acquisitions in multiple geographies covering medical devices, pharma, biotech,
consumer health and digital health solutions.

Prior to joining the Company, Enrico led new business development for women’s health
and urology in the Europe, Middle East and Africa (EMEA) region at BARD Medical, in
continuation of his work as head of distributor markets EMEA at American Medical
Systems (4AMS)/Boston Scientific. Prior to AMS, he was Vice President of Business
Case 23-03150 Document 22 Filed in TXSB on 02/09/24 Page 14 of 23

Development at Evofem BioSciences covering international markets. Earlier in his
carrier, he was Vice President of Global Sales and Marketing at WCG, European brand
leader at Astellas Pharma and marketing lead at Merck and Co.

Enrico earned a Master of Science in development economics from the SOAS University
of London and a Bachelor of Science in business administration from the LUISS Business
School in Rome.”

PRIMARY OMISSION:

The current management team repeatedly attempted to deflect responsibility for its own
Intentional Selective Disclosure regarding material events, defined herein in Section VII below,
by placing blame on former management, not only in the August 3, 2022 press release excerpt
below as underlined, but also in earnings calls, AFTER the SEC investigation was completed in
August of 2022:

“This investigation and the settlement reached stems from the activities of RTI and former
senior management, not our current team. Reaching this settlement with the SEC will allow
us to move forward without this uncertainty and is one more issue resolved in our effort to
transform the company since we divested the RT] OEM business roughly two years ago,”
said David Lyle, Chief Financial Officer of Surgalign, “We believe we are now at the tail
end of our transformation and are excited about the prospects of returning to growth in 2023
through new spine product offerings and the ramp of our HOLO Portal Surgical Guidance
System coupled with the expansion of our AI platform,”

In March 2020, the SEC notified current management of the pending investigation against
former management of RTI. Current management’s first-hand knowledge of said investigation,
combined with their intentional act of not disclosing this material event in the form of a press
release, proves malice and their intent to mislead potential investors, including the Plaintiff.

MISLEADING STATEMENTS:

Defendant Statement #1:

“10-15 sites up and running by year-end and we are in discussions
with approximately 20 additional potential sites.”

CEO Terry Rich made the following misleading statement on numerous occasions, both in PR
and during earnings conference calls:

“10-15 sites up and running by year-end and we are in discussions with approximately
20 additional potential sites.”

According to the press release issued on May 05, 2022, attached herein as part of EXHIBIT B,
pages 1-2, with the following excerpts incorporated herein:
Case 23-03150 Document 22 Filed in TXSB on 02/09/24 Page 15 of 23

Indiana Spine Hospital is the FIRST to utilize the HOLO Portal system.

“In January 2022, the Company received U.S. Food & Drug Administration (FDA)
-510(k) clearance for the Portal system’s use within lumbar spine procedures, and today,
announced commencement of clinical use. The Company has now moved into its
limited market release and intends to ramp up its site locations.”

“It’s an absolute honor to work with Indiana Spine Hospital and Dr. Brkaric on the first
clinical adoption of our HOLO™ AJ technology,” said Terry Rich, President and CEO
of Surgalign. “This is truly a foundational step in our new digital phase as we launch
the first'of many planned _AI technologies in our roadmap.”

According to the press release issued on May 10, 2022, attached herein as part of EXHIBIT B,
pages 3-6, with the following excerpts incorporated herein:

“I’m pleased to report that during the first quarter, we began to see market conditions
improve with fewer COVID-related restrictions in place, and higher demand for our
products as a result. With the improved environment, we now expect higher revenue for
2022 than our prior forecast with opportunities to further grow product revenue as we
continue to innovate and expand,” stated Terry Rich, President and Chief Executive
Officer of Surgalign Holdings.

“This past week, we reached another major milestone with our first site up and first
successful cases completed using our HOLO Portal. We expect more sites to be launched
this quarter and our goal remains to have between 10-15 sites up and running by the end
of the year with a more widespread launch in 2023.”

According to the press release issued on July 6, 2022, attached herein as part of EXHIBIT B,
pages 7-8, with the following excerpts incorporated herein:

Orthopaedic Institute of Ohio is the SECOND to utilize the HOLO Portal system.

“This is the first clinical application of Surgalign’s HOLO™ AI digital health
platform.”

“The Company is currently expanding the system’s limited market release and intends
to ramp up its site locations throughout the year.”

“Congratulations to Dr. St. Clair for completing the first surgical case in Ohio with the
Surgalign HOLO Portal system,” said Terry Rich, President and CEO of Surgalign.
“We couldn’t be more pleased with the performance of our HOLO Portal system to

date, and the surgeon excitement generated by the technology is palpable. We believe
to_be on the cusp of something special here at Surgalign and look forward to bringing
the benefit of HOLO Portal technology to thousands more patients to come.”
Case 23-03150 Document 22 Filed in TXSB on 02/09/24 Page 16 of 23

According to the press release issued on August 9, 2022, attached herein as part of EXHIBIT B,
pages 9-12, with the following excerpts incorporated herein:

“We've made significant progress in bringing new products to market while building a
strong foundation for the future,” stated Terry Rich, President and Chief Executive
Officer of Surgalign Holdings. “We expanded the reach of our HOLO Portal Surgical
Guidance System, with successful cases performed in Indiana and Ohio, and we are close
to securing additional sites throughout the United States. Our plan remains to have
between 10-15 sites up and running by year-end and we are in discussions with

approximately 20 additional potential sites.”

“Mr, Rich continued, “Our focus near-term is on the commercialization of the HOLO
Portal system, integrating procedural technologies, and expanding our HOLO™ AJ
Platform capabilities. Concurrently, we will continue to build out our engineering
capabilities, bring new products to market, and leverage our distribution to expand spine
product sales globally. The new products we have launched are gaining traction and there
is a lot of excitement building at Surgalign. We believe we are well positioned for growth
in the second half of the year, particularly in the fourth quarter, with significantly greater
prospects in the future.”

According to the press release issued on September 8, 2022, attached herein as part of EXHIBIT
B, pages 13-14, with the following excerpts incorporated herein:

“The Society for Minimally Invasive Spine Surgery (“SMISS”) will be hosting its
Annual Forum on September 29 — October 1, 2022, at the Bellagio in Las Vegas, NV.”

“The Company will also be participating in the MISS Track Cadaveric Lab on
September 29" and for the first time at any industry event, will be featuring its HOLO
_Portal™ Surgical Guidance System with live, hands-on demonstrations.”

“The North American Spine Society (“NASS”) will be hosting its 37 Annual Meeting
on October 12-15, 2022, at McCormick Place-West Building in Chicago, IL.”

“The Company will also be showcasing its HOLO Portal Surgical Guidance System in
its booth.”

“and we look forward to showcasing many of our innovations at SMISS and NASS in
the coming weeks,” stated Terry Rich, President and CEO of Surgalign. “We’re
especially excited to debut the HOLO Portal system at industry events as we move
forward in our commercialization initiatives and expand our reach.”

According to the press release issued on September 15, 2022, attached herein as part of
EXHIBIT B, pages 15-16, with the following excerpts incorporated herein:

Beacon Orthopedics is the THIRD to utilize the HOLO Portal system.
Case 23-03150 Document 22 Filed in TXSB on 02/09/24 Page 17 of 23

“The Company is currently expanding the system’s limited market release and intends
to further increase site locations throughout the year.”

“Congratulations to Dr. Chunduri for completing his first surgical case with the
Surgalign*TM HOLO Portal system,” said Terry Rich, President and CEO of Surgalign.
“The performance to date of the HOLO Portal system and the surgeon excitement
generated by the technology have validated our high expectations. We believe that our
HOLO AI technology will transform patient outcomes, and we couldn’t be prouder to
partner with Dr. Chunduri.”

According to the press release issued on November 2, 2022, attached herein as part of EXHIBIT
B, pages 17-21, with the following excerpts incorporated herein:

“During the third quarter, we continued to make progress in bringing new products to
market and made significant inroads in the commercialization of our HOLO Portal
surgical guidance system with two new sites and several procedures performed,” stated
Terry Rich, President and Chief Executive Officer. “Demand for HOLO Portal is
increasing, but we have experienced delays in contracts and procedures due primarily to
ongoing staffing challenges at hospitals in the U.S. As such, we believe we will hit our
target of 10 to 15 sites by the end of the first quarter of 2023, with further expansion
planned thereafter.”

According to the press release issued on December 13, 2022, attached herein as part of
EXHIBIT B, pages 22-23, with the following excerpts incorporated herein:

OrthoVirginia is the FOURTH to utilize the HOLO Portal system.

“The Company is pleased to report that multiple cases have been successfully
performed in Virginia leveraging the HOLO Portal system, with the first case
performed by Joshua P. Herzog, MD, a board-certified orthopedic spine surgeon with
Ortho Virginia in Richmond, Virginia.”

“This is the first clinical application of Surgalign’s HOLO™ AT digital health
platform.”

“The Company is currently working to expand the system’s limited market release and
intends to further increase its site locations throughout the year.”

“Terry Rich, President and CEO of Surgalign, added, “Congratulations to Dr. Herzog
and the team at OrthoVirginia for completing the first clinical case in Virginia with the
Surgalign HOLO Portal system. The performance of the system to date coupled with
the positive surgeon feedback generated by the technology, continues to validate our
high expectations and drive our overall goal to transform patient outcomes with our AI

technology.”

Case 23-03150 Document 22 Filed in TXSB on 02/09/24” Page 18 of 23

According to the press release issued on March 2, 2023, attached herein as part of EXHIBIT B,
pages 24-25, with the following excerpts incorporated herein:

Medical City Frisco is the FIFTH to utilize the HOLO Portal system.

“The last procedure was performed by Dr. Ripul Panchal, DO, a board-certified,
fellowship-trained neurosurgeon with expertise in the management of spinal disorders.”

“While the sales process has proven to be longer than anticipated, our pipeline
continues to grow, and we have gathered insights from the medical community which
will in turn, improve system functionality.”

“Five medical facilities have utilized HOLO Portal since May 2022 and there have been
over 30 cases performed to date.”

According to the press release issued on May 8, 2023, attached herein as part of EXHIBIT B,
pages 26-28, with the following excerpts incorporated herein:

“With this latest release, HOLO AI Insights has evolved to now address neurovascular
research. Surgalign has partnered with Dr. Brian Jankowitz, a fellowship trained
cerebrovascular neurosurgeon, for neurovascular research with HOLO AI Insights.”

“Dr. Jankowitz, MD is a neurosurgery specialist with extensive experience in
Neurocritical Care Disorders. He is affiliated with the medical facilities Hospital of the
University of Pennsylvania and Cooper University Hospital. He previously served as an
associate professor of neurological surgery at the University of Pittsburgh School of
Medicine and served as faculty of the UPMC Neurosurgery Department and UPMC
Stroke Institute where he specialized in both open and endovascular neurosurgery. Dr.
Jankowitz earned a bachelor of science degree from the University of Notre Dame and
received his medical degree from Temple University School of Medicine.”

According to the press release issued on May 11, 2023, attached herein as part of EXHIBIT B,
pages 29-32, with the following excerpts incorporated herein:

“Two new sites added in May 2023 for HOLO Portal; onboarding underway with cases to
be scheduled.”

“Throughout 2023, we have advanced our HOLO AI portfolio with an upgraded HOLO
Portal system, and the launch of HOLO AI Insights for research-use for both spine
imaging and neurovascular research,” stated Terry Rich, President and Chief Executive
Officer. “This was made possible by the invaluable feedback from the medical
community, and we couldn’t be happier to be working with such world-class physicians
to harness the full potential of artificial intelligence. We are focused on further
enhancements to our AI platform with a goal to expedite commercialization efforts as
we capitalize on the Digital Health opportunity.”

Case 23-03150 Document 22 Filed in TXSB on 02/09/24 Page 19 of 23

Defendant Statement #2:
“And -- so we've got a very full funnel now, and se we're looking to get more units placed.”

CEO Terry Rich stated the following one month prior to filing bankruptcy, in regards to the
demand for the HOLO portal technology.

“And -- so we've got a very full funnel now, and so we're looking to get more units
placed.”

When questioned during the Surgalign Holdings, Inc. (SRGA) Q1 2023 Earnings Conference
Call May 11, 2023 at 4:30 PM ET, CEO Terry Rich provided the following response, obtained
from the Conference Call transcript:

Swayampakula Ramakanth - A.C. Wainwright question:

Okay. In terms of the HOLO Portal, Terry, you're saying that the sales cycle continues to
be long. Can you add some additional commentary around it in terms of like what do you
mean by long -- you note a certain number of centers that you will be able to achieve by
the end of the year, what is the target now in terms of installation base for end of 2023?

Terry Rich response:

Yes, sure. So RK, we didn't provide a target, but -- and part of that is because it's been
long. Sales cycle for all capital out there has been very long now regardless of the model
they view it all as capital. And so it has been long -- could be. We've had -- we've gota
couple of accounts, we're getting hopefully close to coming on now that have been in the
funnel for over a year. So it has been a long path ona lot of these. The typical capital
sales cycle just broadly in the industry is anywhere from 6 to 18 months. So it's about
getting the funnel full and pull them through, And -- so we've got a very full funnel now,
and so we're looking to get more units placed.

IV. SECTION 510(b) CLAIMS

Defendant's Claim: The alleged claims are section 510(b) claims which were cancelled,
released, and extinguished under the confirmed Plan.

Plaintiff's Position: Shareholders did not have voting rights, or equal opportunity, to approve or
disapprove the confirmed Pian.

The confirmed Plan did not grant common shareholders voting rights, therefore removing any
possible shareholder objection of said “Plan,” as outlined in The Notice Of Non-Voting Status
for Holders Of Impaired Claims, attached herein as EXHIBIT C.

The confirmed Plan did not provide equal opportunity for shareholders to issue objection to said
Plan, and as a result, shareholders had their unsecured claims cancelled, released, and
Case 23-03150 Document 22 Filed in TXSB on 02/09/24 Page 20 of 23

extinguished upon approval of said Plan, with absolutely no regard or consideration for the
shareholders.

V. CONFUSION OVER COUNSEL REPRESENTATION

On September 27, 2023, the Bankruptcy Court entered an Order approving the Disclosure
Statement and confirming the Plan, thus terminating the debtor’s legal representation by White &
Case LLP, and Jackson Walker LLP, which allowed Pachulski, Stang, Ziehl, & Jones to take over
all legal matters for the debtor, effective September 27, 2023. This information has been
confirmed as of October 13, 2023, with White & Case LLP.

On October 2, 2023, 5 days AFTER termination of legal representation, Veronica Polnick from
Jackson Walker LLP filed said Motion to Dismiss on behalf of the Defendant. This information
has been confirmed as of October 13, 2023, with the Office of The Court Clerk for the Southern
District of Texas, Houston Division.

The fact remains that the summons’ were properly served by the Plaintiff, to both the Defendant
and its legal counsel on September 11, 2023. Jackson Walker LLP was not served a summons
since White & Case LLP was the Defendant’s legal counsel, as defined on the docket. In an
effort to understand how Jackson Walker LLP obtained a copy of said summons and what
authority Jackson Walker LLP had to file said motion on behalf of the Defendant 5 days AFTER
termination of legal representation, Plaintiff contacted Veronica Polnick on October 13, 2023,
previously filed as “EXHIBIT B.” As of October 31, 2023, Plaintiff had not received a copy of
said notice of motion to dismiss from Counsel, affecting Plaintiff’s ability to respond timely and
accurately to said motion.

After the SCHEDULING CONFERENCE held on January 10, 2024, Pachulski, Stang, Ziehl, &
Jones provided multiple copies of the Motion to Dismiss to the Plaintiff, per the Judge’s request.

VI. SERVICE REGULATION COMPLIANCE

Defendant’s Counsel, namely Veronica Polnick of Jackson Walker LLP, failed to manually serve
Plaintiff written notice of Motion to Dismiss, filed on October 2, 2023. Plaintiff is Pro Se, who
is not registered as a Filing User in accordance with the F ederal Rules of Civil and Criminal
Procedure, and the Local Rules of this Court.

As a result, Plaintiff was not able to respond to said motion due to not being properly served by
Counsel, namely Veronica Polnick of Jackson Walker LLP. Ms. Polnick filed said motion on
day 21, and neglected to serve documents according to Federal Rules of Civil and Criminal
Procedure.

As previously stated, Pachulski, Stang, Ziehl, & Jones has since provided multiple copies of the
Motion to Dismiss to the Plaintiff.
Case 23-03150 Document 22 Filed in TXSB on 02/09/24 Page 21 of 23

VII. INTENTIONAL SELECTIVE DISCLOSURE

Ms. Polnick referred to the Exhibits filed in the Plaintiffs Complaint as “a kitchen sink of
exhibits,” in her Motion to Dismiss. Plaintiff appreciates that Counsel recognizes the
thoroughness of the Plaintiff's Exhibits, and understands the abundance of evidence gathered,
and how that evidence led to investor’s “being left in the dark” in relation to the actors involved,
and their long history of deception and fraud, which was initially discovered at the
commencement of the SEC accounting fraud investigation in March of 2020, which was never
forewarned in a press release until August 3, 2022, after the culmination of said investigation.

Intentional Selective Disclosure, as defined under Regulation FD, requires issuers meet
Regulation FD's "public disclosure" requirement by filing a Form 8-K, by distributing a press
release through a widely disseminated news or wire service, or by any other non-exclusionary
method of disclosure that is reasonably designed to provide broad public access.

The Defendant did in fact comply to the Regulation FD requirement by issuing an 8-K, and
corresponding Exhibit 99.1 on March 20, 2020, attached herein as “EXHIBIT D,” in which the
Defendant SELECTIVELY worded the investigation as an “internal investigation,” and NEVER
ONCE mentioned the Securities and Exchange Commission (“SEC”) being directly involved in
initiating this “internal investigation.” The Defendant then decided to specifically mention the
“SEC” in Exhibit 99.2, attached herein as “EXHIBIT E,” namely the “ongoing SEC investigation
related to the periods 2014 through 2016.” As this was documented as an “Employee
Communication, intended for email distribution to all RTI Surgical employees immediately
following the Form !2b-25 press release,” this was also a deceitful and misleading way to
“comply” with the Regulation FD requirements, by selectively choosing to disclose the “SEC”
on an internat employee memo, but NOT disclosing the “SEC” on Exhibit 99.1, which was a
public disclosure. The Selective Disclosure detailed herein can only be assumed to be
intentional, as to not deter future investors by fully disclosing the SEC investigation in the public
domain.

VIIL DOCTRINE OF STARE DECISIS

Plaintiff pleads that the Court consider the foundational doctrine of stare decisis in a prior case,
namely, Lowry v. RTI Surgical Holdings, Inc., 532 F Supp.3d 652, Dist. Court, ND Illinois 2021,
attached herein as “EXHIBIT F”, in which a previous court has ruled on the same, or a closely
related issue, which included former management of RTI Surgical Holdings, Inc., namely
Jonathon M. Singer, who was also later employed by the Defendant as Chief Financial and
Operating Officer, again allowing the continuum of fraud, with no change in behavior.

The court presiding over Lowry v. RTI Surgical Holdings, Inc., 532 F.Supp.3d 652 denied the
Defendant’s Motion to Dismiss as follows, and expanded upon at
Atips://casetext.com/case/lowry-v-rti-surgical-holdings-inc:

“For the foregoing reasons, the Court denies the motions to dismiss submitted
collectively by defendants RTI, Farhat, and Singer [dkt. no. 59], defendant Hutchinson's
motion to dismiss [dkt. no. 65], defendant Jordheim's motion to dismiss [dkt. no. 62], and
Case 23-03150 Document 22 Filed in TXSB on 02/09/24 Page 22 of 23

defendant Louw's [dkt. no. 61] motion fo dismiss. The defendants are directed to answer
the amended complaint by no later than April 29, 2021."

IX. CONCLUSION

For all of the reasons set forth extensively herein, Plaintiff respectfully opposes the Defendant’s
Motion to Dismiss, and pleads with the Court to allow the case to move forward, that the Court
approve the Recovery of Money pursuant to FRBP 7001(1), and deny the discharge in
bankruptcy of any debtor who has committed any acts of fraud, misrepresentation, deceit, or
false pretenses under §523(a)(2), for such other and further relief the Court deems appropriate.

RESPECTFULLY SUBMITTED,

Ry4ni Messner, Plaintiff, pro se
ryanmessner@hotmail.com
570 Camphor Way
Lexington, KY 40509
859.559.7985
Case 23-03150 Document 22 Filed in TXSB on 02/09/24 Page 23 of 23

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of PLAINTIFF RESPONSE TO
DEFENDANT’S MOTION TO DISMISS has been served as follows:

Notice by USPS Ground Advantage was sent to the following persons/entities on February
5, 2024:

Jeffrey P. Nolan Colin R. Robinson
Pachulski Stang Ziehl & Jones Pachulski Stang Zieh] & Jones
10100 Santa Monica Blvd # 13 919 N Market St # 17
Los Angeles CA 90067-4003 Wilmington DE 19801-3023
TOTAL: 2
BYPASSED RECIPIENTS

The following addresses were not sent this notice due to an undeliverable address, and
previously filed out of date forwarding orders with USPS.

Surgalign Holdings, Inc., 520 Lake Cook Road, Suite 315, Deerfield, IL 60015-4926

NOTICE CERTIFICATION

I, Ryan Messner, declare under the penalty of perjury that I have sent the attached document to
the above listed persons/entities in the manner shown, and prepared the Certificate of Service

and that it is true and correct to the best of my information and belief,

Ryan MgSsner

